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                           Exhibit 1
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                           Exhibit 2
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IamA girl from GirlsDoPorn.com AMA! : IAmA                                                   15        3)21 PM




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                                                 https://webcache.googleusercontent.com/search?q=cache:YoWaZyk3VFsJ:https://www.reddit.com/r/IAmA/comments/41xwxk/iama_girl_from_girlsdoporncom
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                                                                                                                                                                                                                      EXPLAINLIKEIM
                                                                                                                                                                                                                          »




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 11 Jan
           WWII OFFICER     IamA    girl from
                                     STEPHEN    GirlsDoPorn.com
                                             TOBOLOWSKY         AMA!
                                                                 SKROLLI                                              NHS DOCTOR                                    NICK ROSS
                             09 Jan                     11 Jan                                            12 Jan                          14 Jan      Former ABC's Technology and Games
              Military                           Actor                        Finish Computer Magazine               Doctor on strike
                            submitted 27 minutes ago * by GDP276                                                                                                    Editor


                              My short bio: Here is a link to my previous post that got deleted, not sure
    Please check out our Rules and FAQs                                                                                                                                              welcome to
                              why -
                              https://www.reddit.com/r/IAmA/comments/41xkvo/iama_girl_from_girlsdopo                                                                               /r/IAmA
                              rn_ama/
                              Hi. My name is 276. My post on the girlsdoporn subreddit got deleted so I've                                                                        SUBMIT AN AMA
                              decided to open up for questions.
                              Before GDP, I was a normal college freshman. Even more than that, I had                                                                            REQUEST AN AMA
                              passion and dreams and a whole life ahead of me. My near-perfect ACT score
                              landed me a scholarship worth $44,000 to Columbia. I’d always wanted to
                              pursue production design in film, and now I could. I moved 1,000 miles from                                                                   HIDE AMA REQUESTS
                              home and chased after my dream. I had it all.
                                                                                                                                                                             search
                              Going to art school, I began to model for a lot of fellow students and friends. I
                              started answering modeling ads on craigslist for some extra cash, because
                              even with my scholarship, my schooling and living expenses downtown were
                                                                                                                                                                             Submitted on 21 Jan 2016
                              extremely, extremely expensive. I never wanted to be a model, it was just
                              convenient because jobs were hard to come by in the city, especially without
                              a car.
                                                                                                                                                                                            2
                                                                                                                                                                                 points (60% upvoted)
                              One day, I answered an ad for “beginmodeling.com” and after that, my life
                              would never the same. From the minute Johnathan contacted me, I was lied                                                                      https://redd.it/41xwxk
                              to repeatedly, manipulated, and coerced into filming. A fake website, fake
                              references from “past models”, the entire premise is a lie. They don’t have to                                                username                            password
                              convince you to shoot an adult film, they just have to convince you to fly to
                                                                                                                                                                 remember me      reset password                      login
                              California and they’ve already won. They email you plane tickets and hotel
                              reservations worth over a $1000, and then they get you excited to be in
                              California (I’d never been) and to be on the beach, and go shopping, and you                                                               unsubscribe from this subreddit
                              don’t even stop to think that maybe this isn’t just a modeling gig after all.
                              And once you get there, you’re done. He’ll convince you that no one will ever
                                                                                                                                                                         9,802,465                    4,085
                              see it, it’s for Australia/foreign markets only, it’s only released on DVDs, etc. I                                                        SUBSCRIBERS                  ONLINE
                              knew nothing about the industry before this, how was I to know I was being
                              naive? If you refuse, they tell you you’ll have to reimburse them for the
                                                                                                                                                                          Please check out our
                              flight/hotels. You’re all alone, surrounded by people you don’t know, and you
                              only have one choice.
                                                                                                                                                                            Rules and FAQs
                              So maybe you thought that this will all be okay. No one will ever know, right?
                                                                                                                                                                    Click here to request being added to our
                              And then you can go home and pretend it never happened. Dre will offer to                                                             calendar.
                              smoke with you, Johnathan will offer you a drink, before you know it, they’ve
                              got cameras out and they’re recording you. They read you lines.                                                                       Click here to search AMAs by category!

                              “I am not under the influence and I consent to the filming..”
http://archive.is/fV3Fv#selection-2433.0-2433.281                                                                                                                                                               Page 1 of 5

                                                                                                                                                   Complaint Exh. 2, p.001
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IamA girl from GirlsDoPorn.com AMA! : IAmA                                             15        3)21 PM


                       “I am not under the influence and I consent to the filming..”                            AMAs are scheduled in Eastern Standard
                                                                                                                Time (GMT-5:00).
                       They’re pulling out contracts. They don’t give you time to read them. “Begin
                       Modeling” is written at the top. Why? This isn’t modeling at all! They give you                       Person             Description
                       a little script for your pre-interview. They tell you exactly what to say if you
                                                                                                                                            Author, The Idealist:
                       won’t say what they want you to. It’s all fake.                                    20                               Aaron Swartz and the
                                                                                                                   1pm    Justin Peters
                                                                                                          Jan                              Rise of Free Culture on
                       They are extremely smart. And extremely manipulative.                                                                     the Internet

                       I don’t remember filming. It’s been awhile, so it only comes in flashes. Think     20
                                                                                                                   3pm
                                                                                                                            Jessica M.
                                                                                                                                           Founder, Aligned Signs
                                                                                                          Jan                 Baker
                       of the most disgusting thing you’ve ever done. That feeling doesn’t go away,
                                                                                                                               Rob
                       does it?                                                                                            DenBleyker,
                                                                                                          20                                Creators, Cyanide &
                                                                                                                   3pm     Kris Wilson,
                       I cry at one point. They switch angles so you can’t see my face.                   Jan
                                                                                                                            and Dave
                                                                                                                                                Happiness
                                                                                                                           McElfatrick
                       I start to bleed. They switch again, and then abandon the sex all together.
                                                                                                          20                                   TV Personality,
                       “Do you know what a facial is?” I didn’t.                                          Jan
                                                                                                                   4pm    Daymond John
                                                                                                                                            Entrepreneur, Author

                       They throw this money at you, and you’re free to go. You don’t tell anyone         20                Hump the
                                                                                                                                           Charity, Live from AVN
                                                                                                                   5pm                      Adult Entertainment
                       what happened, not the police, not your friends, not your family, because          Jan                Bundle
                                                                                                                                                    Expo
                       what if everyone found out? You made that choice to go to California, didn’t                           Cloris
                                                                                                          20                                Comedienne, Actor
                       you? So you bury it and pretend it never happened, and as far as you know,         Jan
                                                                                                                 6:30pm   Leachman and
                                                                                                                                            and Writer, Producer
                                                                                                                            Ryan Jaﬀe
                       you’ll never hear about it again.
                                                                                                                          Nick Marinelli
                                                                                                          21
                       Months passed before I heard anything about the video. I remember getting          Jan
                                                                                                                   1pm    and Dominic             MAGFest
                                                                                                                            Cerquetti
                       ready to go to a concert one night. I got out of the shower and had over a
                       100 text messages and missed calls on my phone, and that’s when I knew.            21
                                                                                                                   3pm
                                                                                                                           Michael Paul      Photographer and
                                                                                                          Jan                 Smith            Model-Maker
                       Someone found out. I would have never consented to having a video of me on
                                                                                                                                           Charity, Live from AVN
                       pornhub, ever. And yet there I was, exposed on front page, the most popular        21
                                                                                                                   4pm
                                                                                                                            Hump the
                                                                                                                                            Adult Entertainment
                                                                                                          Jan                Bundle
                                                                                                                                                    Expo
                       porn site on the internet. For three days my video stayed on the front page.
                       In the process, I dropped out of school. I was in a small program, and             22
                                                                                                                   2pm     Donnie Yen
                                                                                                                                            Martial Artist, Actor,
                                                                                                          Jan                                     Director
                       reputation was everything. The stress of knowing people know, wondering
                                                                                                                                           Charity, Live from AVN
                       who doesn’t know, and hiding piled up and eventually everything fell apart. I      22
                                                                                                                   4pm
                                                                                                                            Hump the
                                                                                                                                            Adult Entertainment
                                                                                                          Jan                Bundle
                       dropped out and moved back home. Everyone from my high school knew. I                                                        Expo

                       was harassed 24/7 by old classmates, strangers on the internet, even a few                          Cast, Crew,
                                                                                                          22              and Composer        Director, Actors,
                       customers from my job recognized me. That’s when I would lose my first job         Jan
                                                                                                                   5pm
                                                                                                                               of                Composer
                       because of GDP. Three more would follow. Each time I would attempt to                              Synchronicity

                       reinvent myself - new hair, new city, it didn’t matter. The video would always     27
                                                                                                                   2pm     Vice Media           Sports Team
                                                                                                          Jan
                       follow. Millions of people have watched it.
                                                                                                                           Angie Holan
                                                                                                          29                                  Editor and writer,
                       I was blackmailed into staying in an abusive relationship because my ex            Jan
                                                                                                              11:30am       and Katie
                                                                                                                                                  PolitiFact
                                                                                                                             Sanders
                       threatened to send the link to my family and siblings if I ever left him. And
                       when I finally did find the strength to leave, he actually did it. He would wake
                       my mom up at 3, 4, 5 AM with screenshots. He sent them to my 17 year old                             see more...
                       step brother. I found out my childhood best friend was sending the link out to
                       people from school. I’ve gone on several dates just to be left when I told
                       them the truth. It was a double standard - if they didn’t care, it would bother
                       me because they should care. And if they did care, they usually left because                       Submitting:
                       who would want to be with someone all of their friends had seen naked? I’ve
                       lost so many people in my life in one way or another from the video.
                                                                                                                  AMAs should be about:
                       My name was “outed” on the internet. They knew everything. Stalkers would
                       post my full name, my phone number, my social media accounts - and even                   Something uncommon that plays a
                                                                                                                 central role in your life, or
                       my address, driver’s license number, make/model of my car, and license plate
                       number. I was terrified someone would try and find me. I got messages                     A truly interesting and unique event.
                       almost daily from random creeps, and a lot of them were extremely                         Explanation and examples of this rule
                       persistent. My friends, family members, and boyfriend also get messages.                  can be found here
                       I never watched the video, only pieces and screenshots people have sent to
                       me to torment me. I am disgusted with myself. I flinch whenever someone
                       brings up porn, even if it’s not about me. I get spooked easily because I’m so             All AMAs require proof.
                       terrified of men now. I think everyone that looks at me weird recognizes me. I
                                                                                                                 Proof should be included in the text of
                       became obsessed with destroying my identity, taking off and starting over.
                                                                                                                 the post when you start your AMA. If it
                       Changing my name, my appearance, everything. Moving across the country -                  must remain confidential, you can
                       or to a whole new one altogether. I fear I’ll spend my entire life running away           message it to the moderators and we
                       if I don’t. Some people have told me I’m one of the strongest people they                 can verify you.
                       know.                                                                                     See here for tips concerning proof and
                       But I am exhausted. I am tired of having to be strong. I wouldn’t wish my life            examples

                       on my worst enemy. I am not posting this here for the “fans” of GDP and this
http://archive.is/fV3Fv#selection-2433.0-2433.281                                                                                                       Page 2 of 5

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IamA girl from GirlsDoPorn.com AMA! : IAmA                                               15        3)21 PM


                              on my worst enemy. I am not posting this here for the “fans” of GDP and this
                              forum, but for the girls. I know most of them will probably read this at some
                              point. I’m tired of thinking that no one knows what I’m going through, and                Request threads
                              today I realized there are probably close to three hundred girls that do. Three
                                                                                                                       Requests must be reasonable and
                              hundred lives ruined. I start to wonder if they are all still alive, as morbid as
                                                                                                                       realistic. All requests must have 5
                              that seems, I know I’ve thought of suicide too many times to count. GDP has              questions for the person being
                              destroyed me. I want to do everything in my power to make sure that this                 requested.
                              doesn’t happen to anyone else. Even if I can just save one life, this exposure           Requests for celebrities must
                              will all be worth it.                                                                    contain their public contact info in
                                                                                                                       the body of the request.
                              So, here’s to the girls of GDP:
                              Are you out there? Are you well? Did you make it this far, too? Are you all just         See here for information about requests

                              as strong as I’ve had to be? If you’re scared, just know that you’re not alone.
                              I’m here.
                              I desperately want to know you all.                                                             Commenting:
                              -276
                              My Proof: http://imgur.com/gdIDBcf http://imgur.com/6ksYBQF                               Please note:
                    •       12 comments       share
                                                                                                                       All initial responses to posters must
                                                                                                                       contain a properly punctuated
                                                                                                                       question.
                   All 12 Comments
                                                                                                                       Attempting to bypass this rule by
                                                                                                                       adding a ? to a non question will
            sorted by: best                                                                                            result in a permanent ban.
      [–] GDP_rapes_girls 5 points 24 minutes ago*
                                                                                                                       See more on our comment removals
      (edit: this included her story before she added it above)                                                        policy here
      permalink

      [–]      AutoModerator        [M] 1 point 21 minutes ago

      Users, please be wary of proof. You are welcome to ask for more proof if you find it                                            Other:
      insufficient.
      OP, if you need any help, please message the mods here.
                                                                                                                        Useful Links!
      Thank you!
      I am a bot, and this action was performed automatically. Please contact the moderators of                    1    Step-by-step guide to doing an AMA
      this subreddit if you have any questions or concerns.                                                        2    Our Traffic and Visitor Stats
      permalink
                                                                                                                   3    Related subreddits
      [–] s3rp3nt6666 1 point 19 minutes ago
                                                                                                                   4    Follow us on Twitter!
      I'm almost afraid to google you thinking I might end up on some child porn website.
      Do you often get questioned about your age since you look so young? Not that it's a bad
      thing, but I'm just curious.
      permalink

             [–]        GDP276      [S] 1 point 15 minutes ago

             ALL the time. People usually assume I'm around 13-14 years old.
             I'm a waitress so the dialogue usually goes something like this:
             "Hey, my name is M**** and I'll be taking care of you-"
             "Are you old enough to take care of anyone?!" or "You know they have child labor laws,
             right?"
             permalink    parent

      [–] ignoreth 0 points 18 minutes ago

      Can you post your back story or whatever you had in the last ama? Sounds like you got
                                                                 heh
      screwed by gdp in more ways than one
      permalink                                                                                                            discuss this ad on reddit
             [–]        GDP276      [S] 1 point 15 minutes ago
                                                                                                                              MESSAGE THE MODERATORS
             Someone just reposted it here!
             permalink    parent                                                                                   MODERATORS
                    [–] ignoreth 1 point 13 minutes ago
                                                                                                                       IKingJeremy
                    Just saw it thanks! Reading it now                                                                 orangejulius
                    permalink      parent                                                                              brownboy13
                                                                                                                       flyryan
                    [–] Itsismylife2 1 point 9 minutes ago

http://archive.is/fV3Fv#selection-2433.0-2433.281                                                                                                        Page 3 of 5

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IamA girl from GirlsDoPorn.com AMA! : IAmA                                                  15        3)21 PM

                                                                                                                                                          flyryan
                     [–] Itsismylife2 1 point 9 minutes ago                                                                                               cahaseler
                     Cool mabye you should copy that content and post again since it's missing.                                                           Seraph_Grymm
                                                                                                                                                          IAmAMods
                     permalink   parent
                                                                                                                                                          iama_sidebar
                     [–] GDP_rapes_girls 1 point 7 minutes ago*                                                                                           Mikecom32
                                                                                                                                                          courtiebabe420
                     I was worried it might get lost. Just edit this post to include it, I'll compress my
                                                                                                                                                                                     ...and 14 more »
                     comment. Too many posts is bad.
                     permalink   parent

         [–] simon_math 0 points 9 minutes ago

         Do you have other porn videos?                                                                                                           <   >   discussions in /r/IAmA                        X
         permalink
                                                                                                                                                  1425 points · 2394 comments
         [–] roastbeefskins 0 points 4 minutes ago                                                                                                Hey Reddit, it’s Kris, Rob and Dave from Cyanide &
                                                                                                                                                  Happiness! Let’s talk about things!
         Why do you think people has so malicious? People who run your industry and then strangers
         who do not know you, make it all worse.
         permalink

         [–] BestFapStuff -1 points 7 minutes ago

         Do you have an imgur gallery of your nudes?
         You know, as proof you actually do porn?
         permalink




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                           Exhibit 3
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Forward




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                                                                                        15 3)14 PM




POSTED ON JUNE 25, 2015JUNE 25, 2015 BY CASE
I’m sure that over the past 2 weeks, most of you have already heard about/saw some pretty terrible
stuff involving me. Even though it’s easier looking from the outside in and thinking the worst, the
actual reality is much different from outside assumption. Writing this has not only been extremely
painful, but also nearly impossible. However, I want to set the record straight so that everyone knows
the truth and that I may begin healing and moving forward with my life.


https://web.archive.org/web/20150629020254/https://oo21oo.wordpress.com/2015/06/25/forward/                             Page 2 of 6

                                                                                              Complaint Exh. 3, p.002
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                                                                                        15 3)14 PM

The night before St. Patrick’s Day, I didn’t feel like doing homework anymore, so I started watching
MTV. For some reason, the ridiculous and completely unrelatable shows inspired me to jokingly
apply to casting calls for different TV series. After submitting photos and information to the
America’s Next Top Model website, I decided to create my own portfolio and send it out to a handful
of other agencies who were seeking new models around the world. Expecting to never hear back, I
didn’t think much else about the spontaneous applications.
After more than a month passed, I had completely forgotten about my submissions. Until the day I
received an email from the Australian modeling company I applied to on ModelMayhem. I was being
offered a modeling contract for their quickly growing company’s base in San Diego, CA. It was a
dream too good to be true. Still in disbelief, I researched the company’s name on Google. I couldn’t
find the website I originally applied to, and began questioning my recruiter. He seemed so cool and
immediately reassured me. He was so down to earth and completely open, even having one of the
original models facetime me and add me on instagram. She showed me her modeling photos for the
company and told me all about her amazing San Diego trip. I couldn’t wait to go. The company
offered to fly out not only myself, but also a friend of my choice. Due to a last-minute exam, my plus
1 ended up staying in Morgantown, so I traveled to California alone. My recruiter and the original
model comforted me throughout my solo trip and promised to fly out my friend the next time I came
back.
When I landed in Cali, my recruiter picked me up from the airport in a new BMW. It was the same
guy I had been facetiming and texting, however, his seemingly warm charismatic personality was
nowhere to be found. Instead, he was distant and icy, acting more annoyed with each word I said. He
dropped me off at an incredible hotel and told me to be up early the next morning, well rested and
ready for the makeup artist.
I did exactly as told and was totally ready by the time my makeup artist arrived at my room. She was
a very stylish young MAC artist who knew exactly what to do to my face as soon as she entered the
room. I told her I couldn’t wait to begin modeling and how blessed I felt to be chosen. She smiled and
didn’t say much back. Within a few minutes, my recruiter arrived with 2 other large intimidating men
to take me to the photo shoot. I was a little nervous but mainly felt excited. The makeup artist said
goodbye and watched as we got in a black Land Rover and drove off. The 3 Australian men talked
and joked around amongst each other without saying much to me. They played really hard house
music and talked about women they were bringing to a dinner party later that night. We were in the
car for around 30 minutes before arriving to an incredible five-star resort. We were buzzed in at the
front gate and navigated through the compound until we arrived at a secluded villa overlooking a
large private pool. The men unpacked lights and cameras and other devices I was unsure of from the
car. I assumed the shoot would take place outside, but instead, was lead inside the building.
It was then when I was made aware that the photo shoot wasn’t at all on anyone’s agenda but my
own. My recruiter half smiled and pulled a manila envelope from the folder he was carrying. He
opened the envelope and flashed a thick stack of all $100 bills. My confusion immediately turned to
terror the second the words, “adult film” were mouthed by the muscular youngest man in the group.
He laughed and started moving towards me. Right away, I began hysterically crying and saying “no”
over and over. It was the only word I seemed to remember how to say. My mind was in total –panic
but my body was like a deer in headlights. I couldn’t move my legs to run, causing my sobbing to


https://web.archive.org/web/20150629020254/https://oo21oo.wordpress.com/2015/06/25/forward/                             Page 3 of 6

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                                                                                        15 3)14 PM

intensify. The men were furious with my hysterical response and immediately began screaming at
me. Each man verbally attacked me differently, breaking me from all angles. I was told how
incredibly ugly I was and that I was the farthest thing from what a modeling agency wants, that I was
just another easily forgotten slut, and was called every disgusting/degrading name out there. I was
told how insignificant my existence was and that no one wanted to come with me for a reason. My
“recruiter” began screaming just inches from my face, demanding I pay back every dollar he wasted
on me for my plane ticket and hotel room. I was told I could not leave until all of my expenses were
paid back. He stood in between me and the door and repetitively shouted over and over, “where is
my money!” Having literally only $0.30 to my name and borrowing money just for gas to drive to the
airport, I felt as if there was no way out. Honestly, I do not know why I didn’t think to call 911 on my
cell or scream for help. I was way past terrified and had no idea if these men were going to beat me or
even kill me. They had broken me.
I was handed a pile of poorly stapled papers and was told to fill every blank. It was a contract that
required my initials and/or signature every 10 words or so. Everything these people advertised on
ModelMayhem was a lie. I had no idea what the men’s’ names were in the room, what the company’s
was actually called, what country these people even came from, let alone what the hell I was signing
my name on. I attempted reading through the documents, but was yelled at and told to “shut up”
because “the recordings will never even be distributed in America” if I lingered too long on a page. I
was given bullshit lines to say to the camera and had to appear genuinely excited for porn and
realistically turned on by the terrifying naked stranger in front of me. Every time that I either started
crying, winced, or moved away in pain, I was belittled like a dog that just peed on the floor and
forced to start the take again from the top. The entire process, I was screamed at for not being hot
enough, not taking it like I should, and for being “a dumb bitch”. I wasn’t even a human being
anymore; I was an item. My body gave up. I had never felt so much physical/emotional pain in my
entire life, yet was forced to pretend that I loved every second of it.
After the trip itself was over, the real nightmare was only beginning. I had never felt more alone than
I did during that time. I was so disgusted and ashamed of myself, feeling like no one could ever
possibly understand yet alone help. I couldn’t sleep at night and would get panic attacks so severe
that I was unable to breathe. I hated myself more and more each day. The biggest reminder of my
worthless existence was when I lied to the people around me, pretending that my craziest dreams
came true. I blew through the pay of about $5,000 in less than 1 month, spending disgusting amounts
on alcohol or clothes I’d later ruin/loose. One night, I even drunkenly tipped a random taxi driver
$300 for no reason whatsoever. Even though I was months behind on rent, I was repulsed by the cash
and couldn’t put it towards anything responsible. I literally wanted nothing to do with it. I was
constantly blacked out and wanted to be as far away from reality as possible. My “recruiter” never
stopped texting me, promising to keep my video a secret if I brought him my friends. I played along
for some time, even telling my friends that I could get them jobs. I despised myself for lying to the
people I loved, but promised to never trap them in the hell I was in. Even though I offered my friends
jobs, I never followed through and set up dates with the “recruiter”.

Eventually I couldn’t do it anymore and stopped responding to his texts. He exploited me and leaked
the video the day after I stopped answering. The morals I strived so hard to adhere to each day were
for absolutely nothing. The kind, loyal, honest, and selfless woman I watched myself mature into had

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died right in front of my eyes. I was unable to shower for some time, knowing that my own naked
body has been observed and judged by everyone that I knew. My once overly-confident and carefree
soul has turned into someone scared of their own shadow. I miss myself every day.       ! ⍰                               ❎
                                                                                                      f %
At first, I was angry at myself. I felt entirely at fault for a very long time. I wanted to take all of my
    https://oo21oo.wordpress.com/2015/06/25/forward/
loved     ones’ pain away and keep it for my own. It wasn’t until I began therapy when I realized that I
am3 not    the bad guy. The men that lied and stripped me of my humanity are the real monsters. What
     captures
type    of2015
   29 Jun  heartless     creature was able to destroy another human’s sense of self and go on▾ with
               - 8 Nov 2020                                                                          their
                                                                                               About this    life?
                                                                                                          capture

My hatred towards these people began my search to getting the answers I deserved. After countless
searches, I came across a page that filled all of my voids and helped me realize that what happened to
me has happened to thousands of women around the world. Surprisingly, my nightmare ended more
fortunately than most others. I am truly blessed to have returned home alive and in one piece. My
story is just a small piece of a huge global issue that puts every woman and child at risk. I was
illegally trafficked across the country for sex and was made to participate in pornography by force,
fraud and coercion. What happened to me could happen to absolutely anyone. I hope that my story is
able to raise awareness and better protect women from the dangers of sex trafficking. I am attending
weekly individual and group therapy sessions and am meeting with a rape crisis specialist this week
to discuss my legal options. I want to catch those illegal immigrant wastes of life and exploit them,
just like how they exploited me.
Each day brings new challenges, but I get a little bit stronger every day. God gave me the best support
system ever. I’m beyond thankful for my incredible family and friends who hold my hand every step
of recovery and have made me feel like I matter again. You can take what you wish from my story.
Those who know the real me will support me throughout my journey and keep me in their hearts.
Those who think less of me or wish to continue judging me are entitled to do so, but have obviously
never met the real me and will never get the chance to.



For more information about trafficking in pornography and more stories similar to my own, please
visit: http://stoptraffickingdemand.com/trafficking-within-the-industry/
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